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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                             4:11CR00251-2 JLH


BRIDGETTE DIANE CROSSWELL


                                     ORDER

      On November 10, 2011, the Court entered an Order Setting Conditions of

Release, which placed Defendant on an OR bond in the third-party custody of her

father. (Docket entry #16). On September 7, 2012 Defendant filed a Motion to

Modify Conditions of Release. (Docket entry #30).

      She states that her father’s residence is in Blytheville but that her two young

children go to school in Gosnell, which is also where she works. She requests

permission to obtain her own residence in Gosnell.

      Defendant’s Pretrial Services Officer (“PTSO”) has informed the Court that

Defendant has performed satisfactorily on supervision. Furthermore, the Government

does not object to Defendant’s requested relief. Under these circumstances, the Court

will grant Defendant’s Motion.      However, Defendant must obtain advance

approval from her PTSO before changing residences.
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     IT IS THEREFORE ORDERED THAT Defendant’s Motion to Modify

Conditions of Release (docket entry #30) is GRANTED. Defendant must obtain

advance approval from her PTSO before changing residences.

     Dated this 13th day of September, 2012.




                                     UNITED STATES MAGISTRATE JUDGE




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